     Case 1:25-cv-03010-RER-JAM                        Document 4          Filed 05/30/25     Page 1 of 3 PageID #: 42

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                     Eastern District
                                                   __________         of of
                                                               District  New  York
                                                                            __________

   Maria Del Pilar Perez Meza, Jorge Macuil, and                      )
   Adriana Juarez, Individually and on Behalf of All                  )
                  Similarly Situated                                  )
                                                                      )
                            Plaintiff(s)                              )
                                                                      )                                       RER-JAM
                                v.                                          Civil Action No. 25-cv-3010
                                                                      )
 Quality Food Best Quality Good Hands LLC, Essam                      )
   Bassyoni, Michael Moudatsos, and Hassan E.                         )
            Osman, Jointly and Severally                              )
                                                                      )
                           Defendant(s)                               )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Please see attached rider.




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Brent E. Pelton, Esq.
                                           Pelton Graham LLC
                                           111 Broadway, Suite 1503
                                           New York, New York 10006
                                           (212) 385 9700
                                           pelton@peltongraham.com

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

                                                                               #3&//"#.")0/&:
                                                                               CLERK OF COURT


Date:       5/30/2025                                                          s/Kimberly Davis
                                                                                         Signature of Clerk or Deputy Clerk
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 Civil Action No. 25-cv-3010

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
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 RIDER TO SUMMONS
 Defendants:
    1. QUALITY FOOD BEST QUALITY GOOD HANDS LLC
       d/b/a Floridian Plaza Diner
       2301 Flatbush Avenue, Brooklyn, New York 11234

    2. ESSAM BASSYONI
       2301 Flatbush Avenue, Brooklyn, New York 11234

    3. MICHAEL MOUDATSOS
       120 Emerson Drive, Staten Island, New York 10304

    4. HASSAN E. OSMAN
       14 Chambry Ct., Freehold, New Jersey 07728
